11/30/2020 Case: 4:20-cv-01700-RLW DOC. #, hPa eso dee O/e0..age: 1 of 8 PagelD #: 6

 

 

 

 

 

 

 

 

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20SL-CC05218 - ZELLNER MCCALISTER V TARGET CORPORATION (E-
CASE)
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11/02/2020 (_) Corporation Served

Document ID - 20-SMCC-9700; Served To - TARGET CORPORATION; Server - CT CORP; Served
Date - 02-NOV-20; Served Time - 00:00:00; Service Type - Territory 30; Reason Description - Served;
Service Text - LC

10/21/2020 () Summons Issued-Circuit

Document ID: 20-SMCC-9700, for TARGET CORPORATION.Summons Attached in PDF Form for
Attorney to Retrieve from Secure Case.Net and Process for Service.

10/15/2020 (J Filing Info Sheet eFiling
Filed By: CHRISTOPHER K GELDMACHER

©) Pet Filed in Circuit Ct
Pleading - Petition.
On Behalf Of: ZELLNER MCCALISTER

( Judge Assigned
DIV 8

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https://www.courts.mo.gov/casenet/cases/searchDockets.do i
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20SL-CC05218

IN THE CIRCUIT COURT
TWENTY-FIRST JUDICIAL CIRCUIT
ST. LOUIS COUNTY

ZELLNER McCALISTER, )
)
Plaintiff, )
) Cause No.:
VS. )
) Division No.:
TARGET CORPORATION )
Serve Registered Agent: )
CT Corporation System )
120 South Central Avenue)
Saint Louis, MO 63105 )
)
Defendant. )
PETITION FOR DAMAGES

 

COMES NOW Plaintiff, by and through counsel Sauter Sullivan, LLC, and for her

Petition for Damages against Defendant, states as follows:

l. Defendant is a foreign corporation that is registered to do business in the State of
Missouri.

2, Plaintiff is a resident of St. Louis County, Missouri.

3. The incident which is the subject of this action occurred in St. Louis County.

4. At all times herein mentioned, Plaintiff was a business invitee of Defendant.

5, On November 4, 2018, Plaintiff was a customer patronizing Defendant’s store

located at 12275 St Charles Rock Rd, Bridgeton, Missouri (hereinafter the “Premises”).

6. On the above date, Plaintiff tripped and fell on a defect in the tile floor on the
interior of the Premises.

7. Defendant owed a duty to Plaintiff, as an invitee, to exercise reasonable and

ordinary care to keep the Premises safe and to prevent dangerous conditions from being present.

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8. The defect in the tile floor where Plaintiff fell constituted a dangerous and
defective condition.

9. Prior to the above referenced fall, Defendant knew or, through the use of ordinary
care, should have known of the dangerous and defective condition of the defect in the tile floor.

10. _ By failing to keep the Premises safe and to prevent a dangerous and defective
condition on the Premises, Defendant’s violated its duty to Plaintiff.

11. Defendant owed a duty to warn Plaintiff of any dangerous or defective condition
that was present at the Premises.

12. Defendant failed to provide Plaintiff with any warning that the floor of the
Premises contained the dangerous and defective condition.

13. By failing to warn Plaintiff of the dangerous and defective condition of the tile
floor of the Premises, Defendant violated its duty to Plaintiff.

14. The defective and dangerous condition of the tile floor of the Premises was the
direct and proximate cause of Plaintiff's fall.

15. The above-mentioned fall caused the Plaintiff to sustain injuries and damages.

16. | Asadirect and proximate result of the aforesaid injuries, Plaintiff was compelled
to submit to treatment of medical professionals, has incurred expenses thereby, and shall incur
further medical expenses in the future because of such injuries.

18. Asadirect and proximate result of the aforesaid injuries, Plaintiff suffered a loss

of income.

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WHEREFORE, Plaintiff respectfully requests the entry of judgment against Defendant in

an amount in excess of $25,000, an award of Plaintiff's costs, and for such other and further

relief as the Court deems just and proper.

SAUTER e SULLIVAN e LLC

: _/s/ Christopher K. Geldmacher

Christopher K. Geldmacher #48279
Attorney for Plaintiff

3415 Hampton Avenue

St. Louis, MO 63139

Telephone: (314) 768-6800
Facsimile: (314) 781-2726

Email: cgeldmacher@ss-law.net

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x, IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

 

 

 

Judge or Division: Case Number: 20SL-CC05218
DEAN PAUL WALDEMER SHERIFF FEE
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/ Address PAID
ZELLNER MCCALISTER CHRISTOPHER K GELDMACHER
3415 HAMPTON AVE

vs. | ST LOUIS, MO 63139
Defendant/Respondent: Court Address:
TARGET CORPORATION ST LOUIS COUNTY COURT BUILDING

 

105 SOUTH CENTRAL AVENUE

Nat f Suit:
ature OF Sul CLAYTON, MO 63105

CC Pers Injury-Other

 

 

(Date File Stamp)

 

Summons in Civil Case

The State of Missouri to: TARGET CORPORATION
Alias:
R/A: CT CORPORATION SYSTEM
120 SOUTH CENTRAL AVENUE
ST. LOUIS, MO 63105

 

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of
Ae COURT SY which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
proceeding. Z

21-OCT-2020

Date C/ [Clerk .

Further Information:
LES

 

ST. LOUIS COUNTY

 

 

Sheriff's or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
I certify that I have served the above summons by: (check one)

] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

[] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with

a person of the Defendant’s/Respondent’s family over the age of 15 years who
permanently resides with the Defendant/Respondent.

(_] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

(name) (title),
CJ other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff's Fees, if applicable
Summons
Non Est $
Sheriff's Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ $. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9700 1 (Civil Procedure Form No. 1, Rules 54.01 — 54,05,
54,13, and 34,20; 506,120 — 506.140, and 506.150 RSMo
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THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

Twenty First Judicial Circuit

NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES

Purpose of Notice

As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

(1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator's decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the

arbitration will be conducted.

(2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.

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54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
Case: 4:20-cv-01700-RLW Doc. #: 1-3 Filed: 12/01/20 Page: 7 of 8 PagelD #: 12

(3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

(4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

(5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial’, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting

a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.

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54.13, and 54.20; 506,120 — 506.140, and 506.150 RSMo
 

 

 

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IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

 

 

 

 

 

 

 

 

 

Judge or Division: Case Number: 20SL-CC05218
DEAN PAUL WALDEMER : SHERIFF FEE
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attormey/Address
ZELLNER MCCALISTER ' CHRISTOPHER K GELDMACHER
3415 HAMPTON AVE
vs. | ST LOUIS, MO 63139
Defendant/Respondent: Court Address:
TARGET CORPORATION ST LOUIS COUNTY COURT BUILDING
Nature of Suit: 105 SOUTH CENTRAL AVENUE
CC Pers Injury-Other CLAYTON, MO 63105 4
: @ ‘“« = “ ear UD VT
Summons in Civil Case “IRCUIT CLERK, ST. LOUIS COUNTY
The State of Missouri to: TARGET CORPORATION
Alias: O
R/A: CT CORPORATION SYSTEM S

120 SOUTH CENTRAL AVENUE Cy
ST. LOUIS, MO 63105

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of
ey COURTS which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabilities Act, please
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or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
proceeding.

 

ST. LOUIS COUNTY

21-OCT-2020

Date C/ [Clerk
Further (nformation:
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Sheriff's or Server’s Return

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Note to serving officer: Summons should be retumed to the court within thirty days after the date of issue. tne cac4

I certify that I have served the above summons by: (check one) — oi oS ned
[_] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent. 5! Ey ea ne

L] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Réspandenfaygth o a
a person of the Defendant’s/Respondent’s family over th a age of bs.ycars ve

 

 

 

 

 

   
    

 

 

 

 

 

 

 

 

 

 

 

 

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‘chee INTAKE SPECIALIST a
orveds CT oe SOR RORATION : t — 8. LOVE (address)
(County/City of St. Louis), MO, on NOV 0 Z LU LU (d (time),
Fim Dihiw
Printed Name of Sheriff or Server . Si érver
Must be sworn before a notary public if not served by an authorized offi
Subscribed and swom to before me on (date).
(Seal)
My commission expires:
Date Notary Public

Sheriff's Fees, if applicable
Summons %
Non Est 5.
Sheriff's Deputy Salary
Supplemental Surcharge $1000
Mileage $ ( miles @ $, per mile)
Total ‘ 5
A copy of the summons and a copy of the petition must be served on each Defendant/Respondent, For methods of service on all classes of
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